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                   Exhibit 02
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig "Deepwater         *    MDLN0.2179
Horizon" in the Gulf of Mexico, on April20,        *
2010                                               *    SECTION J
                                                   *
This document relates to all actions.              *
                                                   *    HONORABLE CARL J.
                                                   *    BARBIER
                                                   *
                                                   *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
                                                   *
Bon Secour Fisheries, Inc., et al., on behalf of   *   Civil Action No. 12-970
themselves and all others similarly situated,      *
                                                   *   SECTION J
     Plaintiffs,                                   *
                                                   *
v.                                                 *   HONORABLE CARL J.
                                                   *   BARBIER
BP Exploration & Production Inc.; BP               *
America Production Company; BP p.l.c.,             *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
     Defendants.                                   *
                                                   *




                   DECLARATION OF PROFESSOR J. RICHARD DIETRICH

                                    FEBRUARY 18, 2013
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I.           ASSIGNMENT
    1.       I have been asked to comment on the implementation of the Deepwater Horizon Economic
            and Property Damages Settlement, as amended on May 2, 2012 ("Settlement Agreement").
             Specifically, I have been asked to consider the accounting aspects of the Business
            Economic Loss Framework ("BEL Framework") and to consider (a) an implementation
            approach that has been proposed by Class Counsel and adopted by the Claims
            Administrator ("Class Counsel's approach'') 1 and (b) BP's implementation approach
            ("BP' s approach''). 2


II.         SUMMARY OF OPINIONS
2.          In this declaration, I conclude:

              a. The BEL Framework's objective is to compensate Economic Damage, 3 i.e., the
                 economic loss that a business incurred because of the DWH spi11. 4 The BEL
                 Framework measures economic loss by comparing variable profit during a pre-spill
                 Benchmark Period with variable profit during comparable months in a post-spill
                 Compensation Period. "Variable profit" in turn is calculated by taking revenue
                 earned during each month and subtracting corresponding variable expenses. 5 Also,
                 the BEL Framework examines a claimant's revenue pattern in 2009, 20 10 and 2011
                 to see if it resembles a "V" shape. 6

              b. These terms "profit," "revenue" and "expenses" have accepted meanings in
                 accounting. BP's approach is consistent with these widely-understood meanings and
                 with the well-understood principle of matching revenue and expenses in accounting.




          Class Counsel Memorandum, "Request for Formal Policy Statement: Monthly Revenue" December 16,2012.
          and Memorandum from Patrick A. Juneau to Class Counsel and BP, "RE: Announcement of Policy Decisions
          Regarding Claims Administration," January 15,2013.
          Tab I to BP's Response to Class Counsel's December 16,2012 Request for Policy Determination.
          Settlement Agreement, pp. 98-99.
4
          Settlement Agreement, pp. 5, 29-30.
          Exhibit 4C to Settlement Agreement, "Compensation Framework for Business Economic Loss Claims"
          ("Exhibit 4C").
          Exhibit 4A to Settlement Agreement, "Documentation Requirements for Business Economic Loss Claims"
          ("Exhibit 4A")
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              Class Counsel's approach includes using, without adjustment, claimants' financial
              statements that do not conform to the meanings of revenue and expenses used by the
              BEL Framework ("unadjusted financial statements") and therefore is inconsistent
              with the BEL Framework.

         c. In the absence of certain restrictive conditions, Class Counsel's approach will
            produce distorted measures of economic loss that can lead to absurd results. Class
            Counsel's approach does not assure that revenue, as reported in the claimant's
            financial statements, is matched to corresponding variable expenses, or to
            corresponding economic events occurring during the period; both are fundamental
            elements of determining economic loss as set out in the BEL Framework. Moreover,
            nothing in the Settlement Agreement provides that using unadjusted financial
            statements is the basis for or governs the BEL Framework-yet this is precisely what
            Class Counsel propose and the Claims Administrator is doing. To the contrary, using
            unadjusted financial statements as advocated for by Class Counsel effectively
            replaces certain terms of the Settlement Agreement's BEL Framework with other
            terms that are defined by each claimant. Therefore, Class Counsel's approach renders
            inaccurate and inappropriate the Variable Profits calculation.

         d. BP's approach, including conforming unadjusted financial statements to the accepted
            meanings of revenue and expense, is consistent with the Settlement Agreement and
            reasonably estimates economic loss. Further, it prevents gross inconsistency across
            similarly situated claimants.

         e. Accountants are familiar with and frequently use the concepts and procedures to
            adjust nonconforming financial statements as BP's approach prescribes.

         f.   PricewaterhouseCoopers LLP and Postlethwaite & Netterville have the expertise to
              implement BP's approach without any undue burden on claimants or the Claims
              Administrator.

III.   QUALIFICATIONS
3.      I am a professor of accounting and served for 11 years as chair of the Department of
       Accounting and Management Information Systems in the Fisher College of Business at
       The Ohio State University. I also have held tenured appointments as a professor of
       accounting at the University of Illinois at Urbana-Champaign and the University of Texas
       at Austin. I received a B.S. in physics, an M.S. in measurement and control, an M.S. in
       accounting, and a Ph.D. in industrial administration from Carnegie-Mellon University.




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4.       Immediately prior to joining the faculty at Ohio State, I was the academic fellow in the
         Office of the Chief Accountant ("OCA'') at the U.S. Securities and Exchange Commission
         ("SEC"). The OCA is responsible for establishing and enforcing accounting policy for the
         SEC and therefore all publicly-traded companies that are registered with the SEC. I
         interacted regularly with the Chief Accountant and other staff members in the OCA on a
         wide variety of accounting and policy issues, including recognition and measurement of
         assets, liabilities, revenues and expenses, restatements, accounting for business
         combinations, special purpose entities, international accounting standards, stock options,
         and auditor independence.
5.       I have published research articles in leading academic journals in accounting. My
         curriculum vitae is attached as Exhibit 1 to this declaration. Exhibit 2 provides a list of
        materials I have reviewed and relied upon in preparing this Declaration.
6.       In my teaching career, I estimate that I have taught hundreds of undergraduate or masters'
        students who have become certified public accountants and perhaps more than 1,500
        students who have earned MBA degrees. Many of these former students are employed in
        capacities involving preparation, audit, or analysis of financial statements. Others are
        employed in capacities where they impact and are impacted by financial reporting in their
        roles as managers.


IV.     BACKGROUND
7.      The Settlement Agreement lays out procedures for the Settlement Program accountants to
        use to calculate compensation for business claimants claiming economic damage from the
        DWH spill. These procedures, referred to as the BEL Framework/ involve calculations
        used to compute total compensation. These calculations are designed to compare "the
        actual profit of a business during a defined post-spill period in 2010 to the profit that the
        claimant might have expected to earn in the comparable post-spill period of 201 0.'' 8




      Exhibits 4A- 7 to the Settlement Agreement define the BEL Framework.
      Exhibit 4C, p. I. The Compensation Framework described in Exhibit 4C describes a process to calculate
      compensation.




                                                         3
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8.        Pursuant to Exhibit 4C of the BEL Framework, a claimant chooses a Compensation Period
          in 20 l 0 and a comparable Benchmark Period in one or more prior years. 9 The loss
          calculation has two steps. The first step measures ''the reduction in Variable Profit'' 10
          between the 2010 Compensation Period and the comparable months of the Benchmark
          Period, where Variable Profit is calculated by ''subtract[ing] the corresponding variable
          expenses from revenue." 11 The second step adds "incremental profits or losses the
          claimant might have expected to generate in the absence of the spill relative to sales from
         the Benchmark Period.'' 12
9.        In addition the Settlement Agreement identifies causation requirements in Exhibit 4B. 13
         Among these requirements are revenue tests to identify whether a claimant's revenue in
         2009,2010 and 2011 exhibited a V-shape.
I 0.      Each claimant submits federal tax returns for 2010, and, if applicable for 20 II, and for the
         years included in the claimant-selected Benchmark Period, as well as monthly and annual
         profit and loss statements (or alternate source documents establishing monthly revenues
         and expenses) for 2010, and, if applicable 2011, and the claimed Benchmark Period. 14 The
         Claims Administrator may request source documents for profit and loss statements, and
         has discretion to request additional information or documentation. 15




9
       Exhibit 4C, p. 3.
10
       Exhibit 4C, p. I.
11
       Exhibit 4C, p. 2.
12
       Exhibit 4C, p. I.
13
       Exhibit 48 to Settlement Agreement, "Causation Requirements for Businesses Economic Loss Claims,"
       ("Exhibit 48").
14
       Exhibit 4A, p. 1-2.
15
       Exhibit 4A, p. 2. The claimant also may be required to provide additional documentation under a variety of
       circumstances, as described in Exhibit 4A.




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V.       ANALYSIS
            A.     BEL Framework Measures Economic Loss

II.      The BEL Framework's objective is to compensate Economic Damage, 16 i.e., the economic
         loss that a business incurred because of the DWH spil1. 17 The BEL Framework measures
         economic loss by prescribing calculations that rely on terms and concepts that are well-
         recognized in accounting as designed to measure a business's economic performance.
         These terms and concepts, especially the terms "'revenue" and ·'expense'' and the concept
        of matching revenues to "corresponding" variable expenses, have generally accepted
         meanings in accounting. BP's interpretation of these terms is consistent with their
         generally accepted meanings, while Class Counsel's interpretation is not.
12.      Economic profit (or economic loss) is determined by measuring economic performance
        over a period of time. By economic performance, I mean the change in a firm's economic
        resources resulting from activities to generate revenue from selling its goods or services to
        customers, also known as the firm's earnings process. 18

13.     When economic performance is measured over a reporting period that coincides with the
        duration of the firm's earnings process and certain other conditions also are met, then
        economic profit or loss can be measured by either cash basis or accrual accounting
        methods. Except under these limited conditions, however, only properly applied accrual
        accounting methods provide an accurate and faithful representation of economic
        performance. 19 Cash basis or improperly applied accrual accounting methods will, in
        general, lead to distorted measures of economic profit or loss. As the Financial



16
      Settlement Agreement, pp. 98-99.
17
      Settlement Agreement, pp. 5, 29-30.
18
      Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh Ed., McGraw Hill,
      2013, p. 232.
19
      If more than one interpretation of an accounting term, concept, or procedure may be possible, the interpretation
      producing a morefaithful representation of what the accountant is trying to measure is preferred. Faithful
      means the characteristic that an accounting measure "represent[s] the economic phenomena that it purports to
      represent." See FASB Statement of Financial Accounting Concepts No.8, Conceptual Frameworkfor
      Financial Reporting, paragraph QC 12.




                                                           5
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         Accounting Standards Board (''F ASB"), the organization designated under federal
         securities law to establish financial accounting standards that govern the preparation of
         financial reports by nongovernmental entities in the United States, noted: "A [financial]
         report showing cash receipts and cash outlays of an enterprise for a short [time] period
                                                                                                                       20
         cannot ... indicate whether or to what extent an enterprise is successful or unsuccessful.''
         In this context, success is understood to mean earnings or profit.

14.     As I discuss further below, accountants are trained to use procedures that conform
        unadjusted financial statements to the generally accepted meanings of revenue and
        expense. Therefore, claimants may submit monthly profit and loss and other statements
         using any accounting procedures they select. Settlement Program Accounting Vendors
        will apply appropriate adjustments to conform claimant's financial statements to
        calculations prescribed by the BEL Framework.

           B.     BEL Framework Uses Terms And Methods That Have Recognized Meanings
                  Among Accountants And Financial Professionals

15.     The terms revenue (used in Exhibits 48 and 4C) and expense (used in Exhibit 4C) have
        specific meaning in accounting; these meanings are widely understood because they are
        defined in professional accounting standards and accounting textbooks, are effectively
        mandatory elements of a university accounting curriculum, and are commonly used in the
             . of accountmg.
        practice         . 21


16.     Revenues are assets obtained or liabilities settled during a period from delivering or
        producing goods, rendering services, or other activities that constitute the entity's ongoing




20
      FASB Statement of Financial Accounting Concepts No. 6, Elements of Financial Statements, paragraph 144.
      The FASB also concluded that accrual accounting is well-suited to measuring an entity's performance, stating
      "accrual accounting uses [certain procedures] to reflect an entity's performance during a period instead of
      merely listing its cash receipts and outlays." See FASB Statement of Financial Accounting Concepts No.6,
      Elements of Financial Statements, paragraph 145.
21
      Exhibit 3 provides citations and definitions offered by several accounting textbooks and other sources. Notice
      the similarity across these sources, indicating that the terms revenue and expense are well-understood
      accounting terms.




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         major, or central, operations. 22 The assets obtained often include cash, but cash receipts
        alone do not measure revenues. Cash receipts in a period can be the collection of revenues
         from an earlier or later period.

17.     Expenses are outflows or other using up of assets or Iiabi lities incurred during a period
        from delivering or producing goods, rendering services, or other activities that constitute
        the entity's ongoing major, or central, operations. 23 The asset outflows often include cash,
         but cash disbursements alone do not measure expenses. Cash disbursements in a period
        can be the payment of expenses from an earlier or later period.

18.     Members of the accounting profession (including all members ofthe American Institute of
        Certified Public Accountants or AICPA) recognize that the unmodified terms revenue and
        expense are to be interpreted using these generally accepted definitions, which are applied
         in accrual basis accounting. Financial statements that are prepared under other
        conventions must use modifiers, such as "cash revenue" or "cash expense," to make clear
        that the measurements have a different basis? 4

19.     The BEL Framework uses the term "corresponding variable expenses" in a manner
        consistent with accountants' understanding of matching expenses to revenues. As the
        FASB has stated: "Matching of costs and revenues is simultaneous or combined
        recognition of the revenues and expenses that result directly and jointly from the same
        transactions or other events."25 BP's approach achieves the correspondence, or matching,



22
      Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh Ed., McGraw Hill,
      2013, p. G-7
23
      Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh Ed., McGraw Hill,
      2013, p. G-2.
24
      "When an auditor conducts an audit of ... any financial statement," the auditor is instructed that certain terms
      "are generally understood to be applicable only to financial statements [that are presented] in conformity with
      generally accepted accounting principles," an accrual accounting system. See AU Section 623, Special Reports.
      paragraphs .02 and .07. In other settings, these terms should be modified. For example: "cash basis financial
      statements might be titled statement of assets and liabilities arisingfrom cash transactions, or statement of
      revenue collected and expenses paid." See AU Section 623, Special Reports, paragraph .07. This guidance
      applies to all audited financial statements.
25
      FASB Statement of Financial Accounting Concepts No.6, Elements of Financial Statements, paragraph 146.




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      of expenses and revenues necessary to meet the BEL Framework's objective of measuring
      economic loss. As I show below, Class Counsel's approach does not and cannot.

         C.   Accounting Procedures Proposed By Class Counsel and Adopted by the
              Claims Administrator Will Distort Economic Loss Measures and Lead to
              Absurd Results

20.   In the absence of certain restrictive conditions described in paragraph 23 below,
      accounting procedures permissible under Class Counsel's approach will produce distorted
      measures of economic loss that lead to absurd results because these procedures do not
      properly identify revenue earned during a period, nor do they match that revenue to
      corresponding variable expenses. Nor does Class Counsel's approach result in consistent
      comparisons of periods with comparable economic activity-that is, corresponding
      economic events occurring during the period. All of these are fundamental elements of
      determining economic loss as set out in the BEL Framework. Thus, Class Counsel's
      approach incorrectly implements the Variable Profits calculation set forth in the Settlement
      Agreement.

       a. Class Counsel's Approach

21.   Class Counsel's approach effectively discards the BEL Framework's procedure that
      "corresponding" variable expenses be subtracted from revenue earned in a period. That is,
      Class Counsel proposes to allow substitution of cash receipts and cash disbursements for
      the generally recognized meanings of revenue and expense in the BEL Framework. This
      substitution is based solely on the accounting method the claimant has chosen, whether
      implemented properly or improperly in the claimant's financial statements. Class
      Counsel's approach will, in many cases, result in compensation calculated using the BEL
      Framework that has no relation to a claimant's actual economic performance or claimed
      loss.




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          b. Cash Basis Accounting and Economic Loss

22.     Cash basis accounting records "cash receipts and cash disbursements during a reporting
        period from transactions related to providing goods and services to customers.'' 26 There is
        no attempt to determine whether cash receipts or cash disbursements during a reporting
        period correspond to economic activities in the period that give rise to economic profit or
        loss, i.e., the earnings process I discussed earlier.

23.     In certain restrictive conditions, earnings statements produced using cash basis accounting
        procedures can produce a Variable Profit measure that is generally consistent with the BEL
        Framework. These limited conditions require that: (1) asset levels other than cash and all
        liability levels are essentially unchanged between the start and end of the respective
        Benchmark Period and Compensation Period and (2) cash receipts and cash disbursements
        during the Benchmark Period and Compensation Period are approximately the same
        amounts as revenue and expenses recognized during the respective periods.

24.     If these conditions are not met, then the calculated Variable Profit based on cash receipts
        and cash disbursements, or on improperly applied accrual measures, will not accurately
        implement (i.e., faithfully represent as described in footnote 19 above) the economic loss
        calculation defined in the BEL Framework.

25.     The extent of the distortion will depend on the extent to which the conditions identified
        above are violated. Claimants in industries that have an earnings process longer than the
        reporting period are likely be subject to distorted measures of economic loss. Such
        industries include construction, farming and certain professional services. 27 The earnings
        process of businesses in other industries also may extend beyond a month and, therefore,
        violate these conditions.



26
      Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh Ed., McGraw Hill,
      2013, p.G-1.

27
      Declarations by Charles E. Finch, David A. Hall and Xavier Oustalniol describe industry-specific factors that
      lead to violations of at least one of the conditions described in paragraph 23 and therefore lead to distorted
      measures of economic loss.




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       c. Absurd Results

26.   I have read the initial and supplemental declarations of Charles E. Finch, David A. Hall
      and Xavier Oustalniol. Their declarations describe various Settlement Program offers to
      BEL claimants in the farming, construction, and professional services industries,
      respectively. Based on the information presented in these declarations, I find the BEL
      compensation calculated by the Settlement Program for these claims to deviate
      substantially from any reasonable measure of economic loss. In the instances that I
      reviewed, the divergence between the economic loss and the amount measured under Class
      Counsel's approach was so extreme as to render the results absurd. Each of these results
      appears to be the consequence of ignoring the concepts and terms prescribed by the BEL
      Framework and instead using claimants' cash basis financial statements (or statements that
      include month-to-month inaccuracies in the application of accrual accounting) without
      making the simple and straightforward adjustments necessary to conform to the terms of
      the BEL Framework, as well as conform the loss calculation to well-accepted accounting
      principles designed to produce accurate measurements of financial performance over a
      period oftime.

        D.    Cash Basis Financial Statements Can Be Adjusted For Use in The BEL
              Framework

27.   If a claimant's financial statements are prepared on a cash basis, the BEL Framework itself
      and BP's BEL implementation approach enable accountants to make the simple and
      straightforward adjustments necessary to conform to the requirements of the BEL
      Framework, as well as to derive an appropriate measure of economic loss as prescribed by
      the BEL Framework. Further, BP's implementation approach prevents grossly
      inconsistent economic loss measures across similarly situated claimants-that is, they
      apply a uniform approach that makes it irrelevant whether a claimant submitted financial
      statements prepared on a cash basis, an accrual basis, or some other basis. BP's approach
      provides that, regardless of the form in which the claimant provides the data, accurate data
      presented on a consistent basis will be used in the calculations required by the BEL
      Framework.




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          a. Adjustments to Conform Cash Basis to the BEL Framework

28.      In industries where cash receipts and disbursements are likely to diverge from revenues
         and expenses over time periods shorter than the earnings process, certain straightforward
         adjustments to cash basis financial statements can satisfy the economic loss calculations
         required by the BEL Framework. Accountants routinely perform adjustments, such as
        accruals, deferrals, and allocations, to properly relate revenue and expenses to a reporting
         period. 28 Adjustments can include estimating bad debt, applying percentage of completion
         method to recognize revenue, depreciating long-lived assets, using changes in inventory to
         measure cost of goods sold, and capitalizing leases, among others. BP's approach is
        simpler than but consistent with these well-established practices and consistent with the
         BEL Framework's objective of measuring economic loss. BP's approach takes account of
        financial information recorded over a longer time period (that may be more similar, or
        even identical, to the duration of the earnings process) to properly measure revenues
        earned and corresponding expenses incurred over the shorter Compensation periods
        required for the BEL Framework calculations. BP's approach provides practical methods
        to implement the language and objective of the BEL Framework and avoids the unfaithful
        and inaccurate representations of Variable Profit that result from Class Counsel's
        approach.

          b. BP's Implementation Approach Provides Consistent Measures Across
             Comparably Situated Claimants

29.     Consider two comparably situated claimants. Both claimants begin a construction project
        for a customer in August and complete the project in October. Each claimant incurs
        identical costs during the construction period and the customers agree to pay identical
        amounts for the work. The only difference is that one claimant receives the cash from the
        customer in October while the other customer receives the cash in November. The



28
      For example, Spiceland, et al, discuss and illustrate "Conversion from Cash Basis to Accrual Basis" on pp. 83-
      86. Similar procedures can be used to adjust financial statements that include incorrect or incomplete accruals.
      For example, see Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh
      Ed., McGraw Hill, 2013, pp. 1206-1254.




                                                          II
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     claimants engage in no other activities during the year. Hypothetical cash receipts and
     disbursements for each claimant are:

     Claimant A                 August      September      October     November           Total
     Cash Receipts                 $0              $0        $900            $0           $900
     Cash Expenditures           $100            $100        $100            $0           $300


     Claimant B                 August      September      October     November           Total
     Cash Receipts                 $0              $0           $0         $900           $900
     Cash Expenditures           $100            $100        $100            $0           $300



30. The economic profit for both claimants is identical. Yet Class Counsel's approach applied
   over the three-month period from August through October using monthly cash basis financial
   statements would cause Claimant A to record a profit of $600 while Claimant B records a
   loss of $300. Clearly, results based simply on cash receipts and disbursements, as Class
   Counsel proposes, provide inconsistent treatment of similarly situated claimants. In contrast,
   BP's implementation procedure would:

           (i) Determine a ratio of annual revenues to annual variable expenses   $900/$300 = 3

           (ii) Match revenue to corresponding expenses, resulting in $300 of revenue each
           month.

     BP' s approach produces identical profit measures over the August-October period of $600;
     this amount is equal to the economic profit and provides consistent measures over similarly
     situated claimants. Thus, the BP implementation approach provides a straightforward
     procedure to calculate economic profit (and loss) when cash receipts diverge from
     revenues, and it also complies with the terms of the Settlement Agreement-which the
     approach advocated by Class Counsel does not.




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31.     Class Counsel's approach also is inconsistent with the BEL Framework's requirement to
        use ·'comparable months'' to describe its measure for economic loss? 9 In determining
        "'comparable months," it is critical to consider the earnings process of the claimant's
        industry and whether that earnings process differs between the Compensation Period and
        Benchmark Period. The comparable months for a business whose earnings depend
        substantially on an event or weather condition would not be the same calendar months if
        the event or weather condition occurs in different months across years. For example,
        Mardi Gras occurred on February 16,2010 but on March 8, 2011. The comparable months
        for a business that derives earnings from Mardi Gras-related activities would end in
        February 2010 but in March 2011.

           E.    The Settlement Program Accountants Should Be Readily Able To Implement
                 The Required Adjustments

32.     Accounting professionals are familiar with cash basis accounting, accrual accounting, and
        the terminology and matching concepts described herein.

33.     As part of their analysis and preparation of financial statements, public accountants
        routinely review financial statements prepared by businesses to determine if revenue and
        expenses are reported accurately. They routinely test the data for unusual period-to-period
        variations to identify potential errors and irregularities so that, if such errors or
        irregularities are detected, appropriate adjustments can be made. This testing is an essential
        step, because accounting requires reliable data to assure financial statements accurately
        report revenue and expenses.

34.     I am confident that accounting professionals in the firms of PricewaterhouseCoopers and
        Postlethwaite & Netterville can readily and efficiently apply BP's approach for identifying
        and conforming unadjusted financial statements to assure that accurate measures of
        revenues and expenses will be used in the compensation calculation. In fact, BP's



29
      Class Counsel Memorandum, "Request for Formal Policy Statement: Monthly Revenue" December 16, 20 12;
      and Exhibit 4C, p. I.




                                                      13
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        approach uses accounting methods that are similar to those used to recognize revenue for
         long-term projects and other routine adjustments I discussed in paragraph 28 above.
         Widely used intermediate accounting textbooks present these procedures,30 and I believe
        that virtually all undergraduate accounting majors at accounting programs throughout the
        country study these procedures. Moreover, to become a CPA, an individual must pass the
         Uniform CPA Examination. This examination tests each candidate's knowledge of
        accounting concepts, terms and procedures; the scope of the CPA examination far
        surpasses the level of expertise contemplated in the BEL Framework.

35.     Major public accounting firms possess substantial expertise in many areas of accounting;
        both PricewaterhouseCoopers and Postlethwaite & Netterville have many partners and
        staff members who are well-versed in the accounting procedures required to implement the
        BEL Framework's calculations. Additionally, accounting professionals frequently engage
        in continuing professional education; certified public accountants (''CPAs") are required to
        do so. Thus, many accounting professionals will have significantly more expertise than
        would be needed to implement the BEL Framework correctly and to implement BP's
        approach for testing and correcting data for construction, farming, and professional
        services claimants.

VI.     CONCLUSION
36.     The BEL Framework sets out accounting procedures to determine the economic loss that a
        business incurred during post-spill months of 2010. Those accounting procedures use
        terms, such as revenue and expenses, that have accepted meanings in accounting.
        Although under certain limited conditions financial statements prepared on a cash basis can
        produce results equivalent to the revenue and expenses measures set out in the BEL
        Framework, if these conditions are not met, financial statements submitted by claimants
        must be adjusted to conform to those measures. By making adjustments when necessary,



30
      Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh Ed., McGraw Hill,
      2013, p. 245. See also, Kieso, Donald E., Jerry J. Weygandt and Terry D. Warfield, Intermediate Accounting,
      Thirteenth Ed., Wiley, 2010, pp. 938-942.




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      the BEL Framework can be applied consistently; gross inconsistencies across similarly
      situated claimants will not occur. In contrast, Class Counsel's approach results in
      inconsistent application across similarly situated claimants, based solely on differences
      used by claimants to prepare their financial statements. I expect that BP's approach can be
      readily implemented by the accounting professionals at PricewaterhouseCoopers and
      Postlethwaite and & Netterville.

      I declare under penalty of perjury that the foregoing is a true and correct statement of my
opinions and analysis.




      Date: February 18,2013

                                                       J. Richard Dietrich




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                                         EXHIBIT 1


                  CURRICULUM VITAE OF J. RICHARD DIETRICH

                                  Professor of Accounting
               Department of Accounting and Management Information Systems
                                 The Ohio State University


University       400 Fisher Hall                   Home             4155 Mumford CT
Address:         Fisher College of Business        Address:         Columbus, OH 43220
                 The Ohio State University                          (614) 451-1497
                 2100 Neil Avenue
                 Columbus, OH 43210
                 (614) 292-2082

EDUCATION:
       Ph.D., Industrial Administration, Carnegie-Mellon University, 1981.
       M.S., Accounting, Carnegie-Mellon University, 1977.
       M.S., Measurement and Control, Carnegie-Mellon University, 1974.
       B.S., Physics, Carnegie-Mellon University, 1973.

POSITIONS AT COLLEGES AND UNIVERSITIES:
       Professor of Accounting, The Ohio State University, 2000-present.
       Chair, Department of Accounting and MIS, The Ohio State University, 2000-2012.
       Professor of Accountancy, University of Illinois at Urbana-Champaign, 1991-2000.
       Professor of Accounting, University of Texas at Austin, 1990-1991.
       Associate Professor of Accounting, University of Texas at Austin, 1985-1990.
       Visiting Associate Professor of Accounting, University of Chicago, 1987-1988.
       Assistant Professor of Accounting, University of Texas at Austin, 1981-1985.
       Visiting Assistant Professor of Industrial Administration, Carnegie-Mellon University,
       1982-1983.
       Instructor of Accounting, University of Texas at Austin, 1979-1981.




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ACADEMIC HONORS:
      The Ohio State University Fisher College of Business, Executive MBA Faculty
      Recognition Award for Outstanding Teaching, June 2005.
      Deloitte & Touche Professor, University of Illinois at Urbana-Champaign, 1991-2000.
      Arthur Andersen & Co. Centennial Faculty Fellow, University of Texas at Austin, 1989-
      1991.
      Peat Marwick Mitchell & Co. Centennial Faculty Fellow, University of Texas at Austin,
      1984-1989.
      University of Texas College of Business Administration Foundation Advisory Council
      Award for Teaching Innovation, 1986.
      University of Texas University Accounting Association Outstanding Faculty Member
      Award, 1985.
      University of Texas Joe D. Beasley Award for Teaching Excellence in the Graduate
      School of Business, 1984.

PROFESSIONAL EMPLOYMENT/CONSULTING EXPERIENCE/BOARD SERVICE:
      OSU Health Plan Inc., Board of Directors, Finance Committee Member and Chair, March
      2007-June 2010, July 2011-present
      Member, Standing Advisory Group of the Public Company Accounting Oversight Board,
      January 2007-December 2008.
      Expert witness or consulting related to securities litigation and professional
      responsibilities, 2003, 2004, 2005, 2006, 2007, 2008, 2009, 2010, 2011, 2012, 2013.
      National Association of Securities Dealers, Presenter for “Understanding the Sarbanes-
      Oxley Act Symposium,” November 2003, April 2004, June 2005, July 2006.
      U.S. Securities & Exchange Commission, Academic Fellow in the Office of the Chief
      Accountant, 1999-2000.
      United States Business School in Prague, Faculty Instructor, Fall 1998, Fall 1999, Fall
      2000.
      Coopers & Lybrand, LLP, member of Academic Advisory Committee, 1994-1997.
      AICPA National Management Advisory Services Training Program, Associate Director,
      June 1986, June 1987.

PUBLICATIONS: Articles in Refereed Journals
      “Discussion of Information Externalities Along the Supply Chain: The Economic
      Determinants of Suppliers’ Stock Price Reaction to their Customers’ Earnings.”
      Contemporary Accounting Research, February 2011.
      (with Karl A. Muller and Edward J. Riedl) “Asymmetric Timeliness Tests of Accounting
      Conservatism.” Review of Accounting Studies, March 2007.

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   (with Steven Kachelmeier, Don Kleinmuntz, and Tom Linsmeier) "An Experimental
   Examination of Forward-Looking, Non-Financial Performance Disclosures." Journal of
   Accounting Research, September 2001.
   (with Mary S. Harris and Karl A. Muller III) “The Reliability of Investment Property Fair
   Value Estimates”, Journal of Accounting and Economics, October 2000.
   (invited commentary) "Discussion of Voluntary Disclosure Choice and Earnings
   Information Transfer." Journal of Accounting Research, Supplement 1989.
   (with Darwin Klingman, Michael Mannino, John Mote, Nancy V. Phillips, and David
   Schkade) "Educating Information Systems Managers: A New Approach," Journal of
   Information Systems, Spring 1989.
   (with Robert B. Thompson and Chris Olsen) "The Influence of Estimation Period News
   Events on Standardized Market Model Prediction Errors," The Accounting Review, July
   1988.
   (with Robert B. Thompson and Chris Olsen) "Attributes of News About Firms: An
   Analysis of Firm-Specific News Reported in the Wall Street Journal Index." Journal of
   Accounting Research, Fall 1987.
   (with Chris Olsen) "Vertical Information Transfers: The Association Between Retailers'
   Sales Announcements and Suppliers' Security Returns." Journal of Accounting Research,
   Supplement 1985.
   (with James W. Deitrick) "Bond Exchanges in the Airline Industry: Analyzing Public
   Disclosures", The Accounting Review, January 1985.
   (invited commentary) "Discussion of Methodological Issues Related to the Estimation of
   Financial Distress Prediction Models: A Summary of the Discussion." Journal of
   Accounting Research, Supplement 1984.
   "Effects of Early Bond Refundings: An Empirical Investigation of Security Returns." The
   Journal of Accounting and Economics, April 1984.
   (with Walter T. Harrison and Lawrence A. Tomassini) "The Use of Control Groups in
   Capital Market Research." Journal of Accounting Research, Spring 1983.
   (with Robert S. Kaplan) "Empirical Analysis of the Commercial Loan Classification
   Decision." The Accounting Review, January 1982.
   (with Dennis Brandl and James M. Sivak) "Soft Landing a Simulated Rocket Under
   Computer Control." Computer, December 1975.
   (with Roman L. Weil) "Partial Rank, Linear Management Information Systems." The
   Accounting Review, October 1974.




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PUBLICATIONS: Articles in Non-Refereed Journals
      (with D. Paul Newman) "Cooperative Behavior in a Multiperiod Agency Setting."
      (abstract only) Proceedings of the American Accounting Association 1982 Mid-West
      Regional Meeting.

FACULTY WORKING PAPERS:

GRANTS:
      (with Steve Kachelmeier, Don Kleinmuntz and Tom Linsmeier) Coopers & Lybrand
      Foundation, "An Experimental Laboratory for Financial Reporting Standards: The Price
      Risk Experiment", $78,519, January 1998.
      (with Don Kleinmuntz and Tom Linsmeier) Coopers & Lybrand Foundation, "An
      Experimental Laboratory for Financial Reporting Standards", $62,686, August 1996.
      Accounting Education Change Commission, Project Discovery grant to the University of
      Illinois (co-author of proposal), $250,000, January 1991.
      IBM Corporation, Management of Information Systems Grant (member of project team),
      $2.8 million, April 1985.
      University of Texas, Project QUEST, "Large Scale Token Ring Network", $200,000
      equipment grant, November 1986.
      Peat Marwick Foundation, Research Opportunities in Auditing Grant, June 1984.
      University of Texas, Graduate School of Business
         Summer Research Grant, June-August 1985.
         Summer Research Grant, June-August 1984 (funding not taken).
         Academic Development Grant (with J.C. Fellingham), June-August 1982 (funding
         not taken).
         Academic Development Grant (with J.C. Fellingham), June-August 1981.
      University of Texas, University Reserach Institute
         Research Grant (with Chris Olsen and Robert Thompson), Spring 1985.
         Special Research Grant, November 1981.

SEMINAR AND CONFERENCE PAPERS PRESENTED:
      American Accounting Association
        Accounting Program Leadership Group Meeting, February 2005.
        Annual Meeting, August 1998.
        Annual Meeting, August 1994.
        Annual Meeting, August 1989.
        Annual Meeting, August 1987.
        Annual Meeting, August 1985.
        Annual Meeting, August 1984.
        Midwest Regional Meeting, March 1982



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     At universities
         The Ohio State University, February 2000, June 1998.
         Virginia Commonwealth University, December 1999.
         New York University, October 1997.
         Southern Methodist University, November 1994.
         Stanford University, July 1990.
         Duke University, March 1990.
         University of Illinois, February 1990.
         Texas Christian University, October 1987.
         University of Florida, November 1986.
         University of Michigan, March 1986.
         University of Pittsburgh, July 1983.
         Vanderbilt University, October 1982.
         Carnegie-Mellon University, October 1982.
         University of California at Berkeley, November 1981.
         Northwestern University, March 1980.
         University of Michigan, March 1980.
     At other meetings:
        American Medical Records Association Annual Meeting, "Training Information
        Managers of the Future," October 1988.
        Workshop on Collaborative Learning Classrooms, "Integrating Technology into
        Teaching: Classroom 2000," University of Maryland, June 1988.
        IBM Higher Education Conference, "Local Area Networks," March 1988.
        OAC'86 (sponsored by The American Federation of Information Processing
        Societies-AFIPS), "Future Directions in Mainframe Connected Personal Computers,"
        March 1986.
        Conference on Accounting Earnings and Security Valuation: Current Research Issues,
        sponsored by the Institute of Professional Accounting of the University of Chicago,
        June 1985.
        Workshop on the Impact of Micro-Computers In Graduate Schools of Business,
        Stanford University, February 1985.
        Peat Marwick Mitchell & Co. Mid-South and Southwest Annual Bank Meeting,
        "Modeling Risk Classifications for Bank Loans and Receivables," June 1984.

DISCUSSANT, SESSION CHAIR, CONFERENCE ORGANIZER:
     Session Chair, American Accounting Association Annual Meeting, 2002.
     Session Chair, American Accounting Association Annual Meeting, 1994.
     Session Chair, American Accounting Association Annual Meeting, 1992.
     Discussant, American Accounting Association Annual Meeting, August 1987.
     Discussant, American Accounting Association Annual Meeting, August 1981.

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EDITORIAL SERVICE: Editorial Boards
      Associate Editor, Journal of Accounting and Economics, 1991-1996.
      Member, The Accounting Review, 1987-1989.

EDITORIAL SERVICE: Other
      Journal of Accounting Research
      Journal of Accounting, Auditing and Finance
      Quarterly Review of Economics and Business
      Journal of Accounting and Public Policy
      Contemporary Accounting Research
      Journal of Finance
      Journal of Financial and Quantitative Analysis

OTHER REVIEW SERVICES:
      Faculty reviews requested by the following institutions:
             University of California at Irvine
             University of Colorado
             Emory University
             Harvard University
             University of Iowa
             University of Michigan
             University of Notre Dame
             University of Oregon
             University of Pennsylvania
             University of Rochester
             Southern Methodist University
             Stanford University
             Washington University
      AACSB accounting accreditation reviews requested by the following institutions:
             University of Arizona
             University of Wisconsin
             University of Miami
             University of Kentucky
             University at Buffalo, State University of New York
             University of Utah
             University of Southern California
             Michigan State University
             Virginia Tech




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     Program reviews requested by the following institutions:
           University of Arizona
           Claremont McKenna College
           University of Iowa
           University of Utah

MEMBERSHIP IN ACADEMIC ORGANIZATIONS:
     American Accounting Association

POSITIONS IN ACADEMIC ORGANIZATIONS:
     Member, Accreditation Quality Committee, Association to Advance Collegiate Schools
     of Business, July 2010-present.
     Member, Accounting Accreditation Committee, Association to Advance Collegiate
     Schools of Business, July 2007-June 2010.
     Chair, American Accounting Association Committee on Regulation, 2006-2007.
     American Accounting Association SEC Liaison Committee, 2000-2003.
     American Accounting Association Committee on Notable Contributions to the
     Accounting Literature, 1987-88, 1999-2000.
     American Accounting Association Outstanding Educator Award Committee, 1992-1993.
     American Accounting Association Annual Program Committee, 1991-1992.
     American Accounting Association Project Consulting Committee, 1981-1984.
     American Accounting Association Committee on Notable Contributions to the
     Accounting Literature, 1982-83.

INSTRUCTIONAL INNOVATIONS AND DEVELOPMENTS:
     Revision of Illinois MBA core curriculum to integrated core curriculum. Principal
     designer of overall curriculum design; detailed accounting theme designer, 1994-1995.
     Revision of Introductory Accounting courses at the University of Illinois to incorporate
     Project Discovery concepts and pedagogy, 1991-1994.
     Associate Director of Project Discovery, a project to revise undergraduate accounting
     education; funded in part by a $250,000 grant to the University of Illinois from the
     Accounting Education Change Commission, 1991-1993.
     Associate Director of the Information Systems Management Concentration, Graduate
     School of Business, University of Texas, a curriculum development project funded in part
     by a $1,000,000 grant from IBM Corporation, 1985-1991. Duties included design and
     implementation of two MBA courses:
         BA 390C: Computer Systems Hardware and Software
         BA 390J: Data Communications, Networks, and Distributed Computing



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FORMAL DEVELOPMENT AND RENEWAL: Conferences Attended
     FASB/AAA Conference, Norwalk, CT. December 2012.
     FASB/AAA Conference, Norwalk, CT. December 2011.
     Annual Meeting, American Accounting Association, Denver, CO, August 2011
     FASB/AAA Conference, Norwalk, CT. November 2010.
     Annual Meeting, American Accounting Association, San Francisco, CA, August 2010
     FASB/AAA Conference, Norwalk, CT. November 2009.
     FASB/AAA Conference, Norwalk, CT. November 2008.
     FASB/AAA Conference, Norwalk, CT. November 2007.
     Annual Meeting, American Accounting Association, Chicago, IL, August 2007
     Accounting Program Leadership Group Annual Seminar, San Diego, CA, February 2007.
     FASB/AAA Conference, Norwalk, CT. December 2006.
     Annual Meeting, American Accounting Association, Washington, DC, August 2006
     FASB/AAA Conference, Norwalk, CT. December 2005.
     Financial Accounting and Reporting Section, American Accounting Association, Austin,
     TX. January, 2004
     Accounting Program Leadership Group Annual Seminar, Las Vegas, NV, February 2004.
     Annual Meeting, American Accounting Association, Orlando, FL, August 2004
     FASB/AAA Conference, Norwalk, CT. December 2004.
     PCAOB/AAA Conference, Washington, DC. December 2004.
     Financial Accounting and Reporting Section, American Accounting Association,
     Orlando, FL., January, 2003
     Annual Meeting, American Accounting Association, Honolulu, HI, August 2003
     Annual Update, Office of the Chief Accountant, U.S. Securities and Exchange
     Commission, Washington, D.C., June 2003
     FASB/AAA Conference, Norwalk, CT. December 2003
     Journal of Accounting and Economics Conference, sponsored by the University of
     Rochester and the Massachusetts Institute of Technology, June 2001.
     Journal of Accounting Research Conference, sponsored by the University of Chicago,
     May 1996.
     Corporate Accounting Policy Seminar, sponsored by the American Accounting
     Association, October 1995.



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      Financial Reporting Research Conference, sponsored by the American Accounting
      Association and the Financial Accounting Standards Board, December 1994.
      Year 2000 Curriculum Conference, University of Southern California, March 1994.
      Financial Reporting Research Conference, sponsored by the American Accounting
      Association and the Financial Accounting Standards Board, December 1993.
      Rethinking Financial Reporting: An Agenda for the Twenty-First Century, sponsored by
      Deloitte & Touche, April 1993.

DOCTORAL DISSERTATION COMMITTEES:
                                                               Major         Reading
Name                      University                    Year Supervision     Member
Neeraj Mittal             The Ohio State University     2004    Yes
Taehee Choi               The Ohio State University     2002                   Yes
Greg Sommers              The Ohio State University     2002                   Yes
Takashi Yaekura           University of Illinois        2000    Yes
Joe Comprix               University of Illinois        2000    Yes
Vernon Richardson         University of Illinois        1997    Yes
Karl Muller               University of Illinois        1997    Yes
TJ Atwood                 University of Illinois        1995    Yes
Taehee Lee                University of Illinois        1994    Yes
Thomas R. Finnegan        University of Illinois        1993    Yes
William D. Terando        University of Illinois        1993    Yes
David Manry               University of Texas           1992    Yes
Craig Lefanowiz           University of Texas           1990                   Yes
Sid Howard Credle         University of Texas           1989    Yes
In-Chul Na                University of Texas           1987    Yes
Wayne H. Shaw             University of Texas           1985    Yes
Jack Edward Wilkerson     University of Texas           1984    Yes
Jean Marie Baldwin Hudson University of Texas           1984                   Yes
Michael Lloyd Ettredge    University of Texas           1982                   Yes




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                                          EXHIBIT 2
                               MATERIALS RELIED UPON


Legal Filings
Class Counsel Memorandum, “Request for Formal Policy Statement: Monthly Revenue”
December 16, 2012.
Memorandum from Patrick A. Juneau to Class Counsel and BP, “RE: Announcement of Policy
Decisions Regarding Claims Administration,” January 15, 2013.
Tab 1 to BP’s Response to Class Counsel’s December 16, 2012 Request for Policy
Determination.
Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on
May 2, 2012 and Exhibits.
Declaration of Charles E. Finch, January 23, 2013.

Declaration of David A. Hall, January 23, 2013.

Declaration of Xavier Oustalniol, January 23, 2013.

Supplemental Declaration of Charles E. Finch, February 18, 2013.

Supplemental Declaration of David A. Hall, February 18, 2013.

Supplemental Declaration of Xavier Oustalniol, February 18, 2013.


Publicly Available Documents
Spiceland, David J., James F. Sepe, and Mark W. Nelson, Intermediate Accounting, Seventh Ed.,
McGraw Hill, 2013.
Kieso, Donald E., Jerry J. Weygandt and Terry D. Warfield, Intermediate Accounting, Thirteenth
Ed., Wiley, 2010.
FASB Statement of Financial Accounting Concepts No. 8, Conceptual Framework for Financial
Reporting.
FASB Statement of Financial Accounting Concepts No. 6, Elements of Financial Statements.
FASB Statement of Financial Accounting Concepts No. 5 Recognition and Measurement in
Financial Statements of Business Enterprises.
AU Section 623, Special Reports.
Other professional and academic source cited in Exhibit 3.




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                                                     EXHIBIT 3

        DEFINITIONS OF ACCOUNTING TERMS USED IN THE BEL FRAMEWORK

Profit

“Present practice accepts a variety of terms for net income, and the Board anticipates that net
income, profit, net loss, and other equivalent terms will continue to be used in financial
statements as names for earnings.” FASB Statement of Financial Accounting Concepts No. 5,
Recognition and Measurement in Financial Statements of Business Enterprises, paragraph 33.1

“profit Excess of revenues over expenses for a transaction; sometimes used synonymously with
net income for the period, especially under IFRS.” Maher, Michael W., Clyde P. Stickney, and
Roman L. Weil, Managerial Accounting, Eleventh Ed., South-Western, 2012, p. 579 (italics in
original).

“profit Excess of revenues over expenses for a transaction; sometimes used synonymously with
net income for the period, especially under IFRS. ” Stickney Clyde P., Roman L. Weil,
Katherine Schipper, and Jennifer Francis, Financial Accounting: Introduction to Concepts,
Methods and Uses, Thirteenth Ed., South-Western, 2012, p. 897 (italics in original).

Revenue

“Revenues are inflows or other enhancements of assets of an entity or settlements of its liabilities
(or a combination of both) from delivering or producing goods, rendering services, or other
activities that constitute the entity’s ongoing major or central operations.” FASB Statement of
Financial Accounting Concept No. 6, Elements of Financial Statements, paragraph 78.

“Revenues represent actual or expected cash inflows (or the equivalent) that have occurred or
will eventuate as a result of the entity's ongoing major or central operations.” FASB Statement
of Financial Accounting Concept No. 6, Elements of Financial Statements, paragraph 79.

“Revenues inflows or other enhancements of assets or settlements of liabilities from delivering
or producing goods, rendering services, or other activities that constitute the entity’s ongoing
major, or central, operations.” Spiceland, David J., James F. Sepe, and Mark W. Nelson,
Intermediate Accounting, Seventh Ed., McGraw-Hill, 2013, p. G-7.

“Revenues measure the inflows of net assets from selling goods and providing services (that is,
assets minus liabilities).” Stickney, Clyde P. and Paul R. Brown, Financial Reporting and
Statement Analysis, A Strategic Perspective, Fourth Ed. Dryden, 1999, p. 22.


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    “Earnings is a measure of entity performance during a period. It measures the extent to which asset inflows
    (revenues and gains) associated with cash-to-cash cycles substantially completed during the period exceed asset
    outflows (expenses and losses) associated, directly or indirectly, with the same cycles.” FASB Statement of
    Financial Accounting Concepts No. 5, Recognition and Measurement in Financial Statements of
    Business Enterprises, page CON5-2..

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“Revenues Increases in assets or settlements of liabilities from ongoing operations.” Libby,
Robert Patricia A. Libby and Daniel G. Short, Financial Accounting, Seventh Ed. McGraw-Hill,
2011, p. G-4 (emphasis in original).

 “REVENUES. Inflows or other enhancements of assets of an entity or settlement of its
liabilities during a period from delivering or producing goods, rendering services, or other
activities that constitute the entity’s ongoing major or central operations.” Kieso, Donald E.,
Jerry J. Weygandt, and Terry D. Warfield, Intermediate Accounting, Ninth Ed., Wiley, 2010, p.
134.

revenue: “…Conceptually (in contrast to specific guidance in accounting standards) measure
revenue as the expected net present value of the net assets the firm will receive. Do not confuse
with receipt of funds, which may occur before, when, or after revenue is recognized.
Contrast with gain and income. See also holding gain. Some writers use the term ‘gross
income’ synonymously with revenue; avoid such usage.” Stickney Clyde P., Roman L. Weil,
Katherine Schipper, and Jennifer Francis, Financial Accounting: Introduction to Concepts,
Methods and Uses, Thirteenth Ed., South-Western, 2012, p. 904 (italics in original; bold added).

Expense

“Expenses are outflows or other using up of assets or incurrences of liabilities (or a
combination of both) from delivering or producing goods, rendering services, or carrying out
other activities that constitute the entity's ongoing major or central operations.” FASB Statement
of Financial Accounting Concept No. 6, Elements of Financial Statements, paragraph 80.

“Expenses represent actual or expected cash outflows (or the equivalent) that have occurred or
will eventuate as a result of the entity's ongoing major or central operations.” FASB Statement
of Financial Accounting Concept No. 6, Elements of Financial Statements, paragraph 81.

“Expenses measure the outflows of net assets that a firm uses, or consumes, in the process of
generating revenues.” Stickney, Clyde P. and Paul R. Brown, Financial Reporting and
Statement Analysis, A Strategic Perspective, Fourth Ed. Dryden, 1999, p. 22.

“Expenses Decreases in assets or increases in liabilities from ongoing operations incurred to
generate revenues during the period.” Libby, Robert Patricia A. Libby and Daniel G. Short,
Financial Accounting, Seventh Ed. McGraw-Hill, 2011, p. G-2 (emphasis in original).

“Expenses outflows or other using up of assets or incurrences of liabilities during a period from
delivering or producing good (sic), rendering services, or other activities that constitute the
entity’s ongoing major, or central, operations.” Spiceland, David J., James F. Sepe, and Mark W.
Nelson, Intermediate Accounting, Seventh Ed., McGraw-Hill, 2013, G-2.

“EXPENSES. Outflows or other using-up of assets or incurrences of liabilities during a period
from delivering or producing goods, rendering services, or carrying out other activities that
constitute the entity’s ongoing major or central operations.” Kieso, Donald E., Jerry J.
Weygandt, and Terry D. Warfield, Intermediate Accounting, Ninth Ed., Wiley, 2010, p. 134.



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“expense: …Measure expense as the cost of the (net) assets used. Do not confuse with
expenditure or disbursement, which may occur before, when, or after the firm recognizes the
related expense. Use the word ‘cost’ to refer to an item that still has service potential and is an
asset. Exceptions sometimes occur, as in ‘Cost of Goods Sold.’ Use the word ‘expense’ after the
firm has used the asset’s service potential. As a verb, ‘expense’ means to designate as
expenditure—past, current, or future—as a current expense.” Stickney Clyde P., Roman L.
Weil, Katherine Schipper, and Jennifer Francis, Financial Accounting: Introduction to Concepts,
Methods and Uses, Thirteenth Ed., South-Western, 2012, p. 868 (italics in original; bold added).

Corresponding

“Matching Principle Requires that expenses be recorded when incurred in earning revenue.”
Libby, Robert Patricia A. Libby and Daniel G. Short, Financial Accounting, Seventh Ed.
McGraw-Hill, 2011, p. G-3 (emphasis in original).

“matching convention The concept of recognizing cost expirations (expenses) in the same
accounting period during which the firm recognizes related revenues; combining or
simultaneously recognizing the revenues and expenses that jointly result from the same
transactions or other events.” Stickney Clyde P., Roman L. Weil, Katherine Schipper, and
Jennifer Francis, Financial Accounting: Introduction to Concepts, Methods and Uses, Thirteenth
Ed., South-Western, 2012, p. 885 (italics in original).

“matching convention The concept of recognizing cost expirations (expenses) in the same
accounting period during which the firm recognizes related revenues; combining or
simultaneously recognizing the revenues and expenses that jointly result from the same
transactions or other events.” Maher, Michael W., Clyde P. Stickney, and Roman L. Weil,
Managerial Accounting, Eleventh Ed., South-Western, p. 564 (italics in original).

 “Because a firm’s operating process usually extends over several accounting periods, the cash
basis of accounting provides a poor matching of revenues and expenses and, therefore, a poor
measure of operating performance for specific periods of time. To overcome this deficiency of
the cash basis, GAAP requires that firms use the accrual basis of accounting in measuring
operating performance.” Stickney, Clyde P., Financial Reporting and Statement Analysis, A
Strategic Perspective, Third Ed. Dryden, 1996, p. 15.




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